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 5   Attorneys for Defendant
     DAVID E. JOPSON
 6

 7
               IN THE UNITED STATES MAGISTRATE COURT FOR THE
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES GOVERNMENT,     )         2:11 CR 275 JAM
11                                 )
               Plaintiff,          )
12                                 )         STIPULATION AND
          v.                       )         ORDER MODIFYING CONDITIONS OF
13                                 )         RELEASE
     DAVID E. JOPSON,              )
14                                 )
               Defendant.          )
15   ______________________________)

16
         David E. Jopson, by and through his attorney, John R.
17
     Manning, Esq., and the United States of America, by and through
18
     its counsel, Assistant United States Attorney Samuel Wong, and
19
     Pretrial Services Officer Beth Baker, hereby jointly agree and
20
     stipulate to amend defendant’s conditions of release as follows:
21
         Condition # 10 - "you (defendant, David E. Jopson) shall
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     submit to drug or alcohol testing as approved by the pretrial
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     services officer" is hereby stricken.       All other conditions
24
     remain in effect as previously ordered.
25
         Accordingly, all parties and Mr. David E. Jopson agree with
26
     the above modifications.
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 1
                                                Respectfully submitted,
 2

 3
     Dated: April 23, 2013                      /s/ John R. Manning ____
 4                                              John R. Manning
                                                Attorney for Defendant
 5                                              David E. Jopson
 6
     Dated: May 9, 2013                         Benjamin B. Wagner
 7
                                                United States Attorney
 8
                                          by:   /s/ Samuel Wong     ____
 9                                              Samuel Wong
                                                Assistant U.S. Attorney
10
     IT IS SO ORDERED.
11

12
     Dated:     May 9, 2013
13                                          _____________________________________
                                            CAROLYN K. DELANEY
14                                          UNITED STATES MAGISTRATE JUDGE

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